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 1                                                                       HONORABLE TANA LIN
                                                                          NOTED: JUNE 16, 2023
 2

 3

 4

 5

 6

 7

 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10
     BARONIUS PRESS, LTD., an Isle of Man
11   limited company,
                                                      NO. 2:22-CV-01635-TL
12                                 Plaintiff,
                                                      PLAINTIFF BARONIUS PRESS, LTD.’S
13          v.                                        OPPOSITION TO DEFENDANT’S
                                                      RULE 12(b)(6) MOTION TO DISMISS
14   FAITHLIFE LLC, a Delaware limited
     liability company,
15
                                   Defendants.
16

17
                   Plaintiff BARONIUS PRESS, LTD. (“Plaintiff’) opposes the Rule 12(b)(6)
18
     Motion to Dismiss (Dkt. No. 55) (“Motion”) by Defendant FAITHLIFE, LLC (“Defendant”).
19
     By the Motion, Defendant seeks an order of this Court dismissing Plaintiff’s Second Amended
20

21   Verified Complaint (Dkt. No. 48.0 – 48.16) (“SAVC”) for copyright infringement and violations

22   of the Digital Millennium Copyright Act (“DMCA”). The Court should deny the Motion

23   because Plaintiff’s allegations in the SAVC, when assumed true and construed in its favor, are
24   enough to both state plausible claims for relief and put Defendant on notice thereof.
25

26
     PLAINTIFF’S OPPOSITION TO                                          GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                   MANSUKHANI, LLP
     TO DISMISS,                                                        701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 1                                      Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
                                                                        Facsimile: (206) 689-2822
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 1                                       I.       INTRODUCTION
 2          Defendant raises many unsupported issues in its Motion (identified in italics below) that
 3
     were addressed by Plaintiff in its Second Amended Verified Complaint (Dkt. No. 48)
 4
     (“SAVC”), as follows:
 5
            (1)   Whether Plaintiff’s alleged ownership of the U.S. copyright rights to:
 6

 7                 (A)    The rights to the English-language edition of Grundriss der katholischen

 8   Dogmatik (“Grundriss English Edition”); and

 9                 (B)    The rights to the actual English translation of Grundriss, i.e.,
10
     Fundamentals of Catholic Dogma (“Fundamentals”).
11
            Plaintiff addressed the above identified issues in its SAVC as follows:
12
                                 (i)          SAVC ¶¶1, 2, 25 - 44 (Dkt. No. 48.0);
13
                                 (ii)         SAVC, Exhibit No. 2 (Dkt. No. 48.3);
14

15                               (iii)        SAVC, Exhibit No. 3 (Dkt. No. 48.4); and

16                               (iv)         SAVC ¶¶90 - 115 (i.e., the First and Second Claims for
17                        Relief) (Dkt. No. 48.0).
18
            Collectively, such cited allegations, and attached and incorporated exhibits, in the SAVC
19
     have inequitably answered and resolved these raised issues.
20
           (2)    Whether Plaintiff alleged that it acquired ownership of, or any rights to, Grundriss
21

22   English Edition and Fundamentals after it was restored to the author, Dr. Patrick Lynch, in

23   1996 when the U.S. enacted the Uruguay Round Agreements Act.

24          Plaintiff addressed these issues in its SAVC as follows:
25          (i)   SAVC ¶¶28 - 44 (Dkt. No. 48.0 ¶¶28-44);
26
     PLAINTIFF’S OPPOSITION TO                                            GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                     MANSUKHANI, LLP
     TO DISMISS,                                                          701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 2                                        Seattle, WA 98104
                                                                          Telephone: (206) 695-5100
                                                                          Facsimile: (206) 689-2822
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 1          (ii)     SAVC, Exhibit No. 2, pgs. 13 - 19 (Dkt. No. 48.3, pgs. 13 - 19); and
 2          (iii)    SAVC, Exhibit No. 3, pgs. 6 - 8 (Dkt. No. 48.4, pgs. 6 - 8).
 3
            Collectively, such cited allegations, and attached and incorporated exhibits, in the SAVC
 4
     have inequitably answered and resolved these raised issues.
 5
           (3)       Whether Plaintiff alleged claims for violations of the Digital Millennium
 6

 7   Copyright Act by:

 8                   (A)    Alleging ownership of, and rights to, Grundriss English Edition and

 9   Fundamentals; and
10
                     (B)    Defendant knowingly provided false Copyright Management Information
11
     (“CMI”) and did so with the intent to induce, enable, facilitate or conceal its infringement.
12
            Plaintiff addressed the “ownership of, and rights to” issues in its SAVC as follows:
13
            (i)      SAVC ¶¶1, 2, 25 - 44 (Dkt. No. 48.0, ¶¶1, 2, 25 - 44);
14

15          (ii)     SAVC, Exhibit No. 2 (Dkt. No. 48.3);

16          (iii)    SAVC, Exhibit No. 3 (Dkt. No. 48.4); and
17          (iv)     SAVC ¶¶90 - 115 (i.e., the First and Second Claims for Relief) (Dkt. No. 48.0
18
     ¶¶90 -– 115).
19
            Plaintiff addressed the “CMI” issues in its SAVC as follows:
20
            (i)      SAVC ¶¶1 - 5, 45 - 89 (Dkt. No. 48.0, ¶¶1 - 5, 45 - 89);
21

22          (ii)     SAVC, Exhibit Nos. 4 - 14 (Dkt. Nos. 48.5 - 48.15); and

23          (iii)    SAVC ¶¶116 - 149 (i.e., the Third and Fourth Claims for Relief) (Dkt. No. 48.0,

24   ¶¶116 - 149).
25          Collectively, such cited allegations, and attached and incorporated exhibits, in the SAVC
26
     PLAINTIFF’S OPPOSITION TO                                           GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                    MANSUKHANI, LLP
     TO DISMISS,                                                         701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 3                                       Seattle, WA 98104
                                                                         Telephone: (206) 695-5100
                                                                         Facsimile: (206) 689-2822
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 1   have inequitably answered and resolved these raised issues, and under a Rule 12(b)(6) standard
 2   of review, all such allegations must be accepted as true. Therefore, Plaintiff has met its pleading
 3
     requirements and Defendant’s Motion must be denied.
 4
             Further, in support of Plaintiff’s arguments to rebut Defendant’s unfounded allegations,
 5
     Plaintiff attaches and incorporates hereto as Exhibit 1 the Declaration of Pavel Kejik (“Kejik
 6

 7   Decl.”), the Director of Plaintiff Baronius Press, Ltd.

 8                                   II.   STANDARD OF REVIEW

 9           The purpose of a motion to dismiss under Rule 12(b)(6) is to test the legal sufficiency of
10
     the complaint. See Fed. R. Civ. P. 12(b)(6). When considering such a motion, the court must
11
     accept all factual allegations in a complaint as true and give the plaintiff the benefit of all
12
     reasonable inferences, “even if it strikes a savvy judge that actual proof of those facts is
13
     improbable.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007) (internal citations
14

15   omitted); Erickson v. Pardus, 551 U.S. 89, 127 S.Ct. 2197, 2200 (2007). The factual allegations

16   in a plaintiff’s complaint must be enough to provide a plaintiff with a right to relief. Bell Atlantic
17   Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1965 (2007). A complaint may be dismissed
18
     under Rule 12(b)(6) "if it is clear that no relief could be granted under any set of facts that could
19
     be proved consistent with the allegations." Hishon v. King & Spalding, 467 U.S. 69, 104 S.Ct.
20
     2229, 2232 (1984) (citing Conley v. Gibson, 355 U.S. 41, 78 S.Ct. 99, 101-02, (1957)).
21

22           The issue is not whether the party will ultimately prevail, but whether the party is entitled

23   to present evidence in support of its claim. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). A

24   viable complaint need only include “enough facts to state a claim to relief that is plausible on its
25   face.” Twombly, 550 U.S. at 570. To deny a motion to dismiss, a court need only determine that
26
     PLAINTIFF’S OPPOSITION TO                                             GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                      MANSUKHANI, LLP
     TO DISMISS,                                                           701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 4                                         Seattle, WA 98104
                                                                           Telephone: (206) 695-5100
                                                                           Facsimile: (206) 689-2822
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 1   the allegations in the complaint state a plausible claim for relief. See id. Plaintiff’s SAVC meets
 2   this standard.
 3
                                           III.   ARGUMENT
 4
           A.         Plaintiff’s SAVC States Claims for Copyright Infringement.
 5
            The elements of pleading a valid copyright claim are: “(1) ownership of a valid copyright
 6

 7   and (2) copying of constituent elements of the work that are original”. Feist Publications, Inc.

 8   v. Rural Tel. Serv. Co., 499 U.S. 340, 361, 111 S.Ct. 1282 (1991). Plaintiff’s SAVC adequately

 9   pleads these elements and therefore states two causes of action for copyright infringement.
10
            1.        Plaintiff Has Properly Alleged Ownership of Valid Copyrights.
11
                      a.    Grundriss der katholischen Dogmatik (“Grundriss”)
12
            First, Plaintiff has sufficiently alleged its ownership of a valid copyright in Grundriss
13
     (SAVC ¶¶90-102) for which the United States Copyright Office issued a registration on or about
14

15   February 21, 2014. (SAVC, Ex. 2); Montgomery v. Noga, 168 F.3d 1282, 1292 (11th Cir.1999)

16   (holding that a certificate of copyright registrations creates a rebuttable presumption that the

17   copyright is valid); 17 U.S.C. § 410(c). Plaintiff alleges that in 2009, it signed an agreement
18
     with the copyright owner of Grundriss, and obtained the exclusive right to reproduce, adapt and
19
     distribute English-language edition of the German-language original work Grundriss
20
     (“Grundriss English Edition”) (SAVC ¶33), and that Grundriss is subject to the full protection
21
     of United States copyright laws. (SAVC ¶¶25-35) Specifically, Plaintiff alleges that it is the
22

23   exclusive licensee of the exclusive right to publish Grundriss English Edition (SAVC ¶25), and

24   that it is entitled to all of the exclusive rights and remedies accorded by U.S. copyright law to a
25   copyright owner. (SAVC ¶27). Assuming the truth of those and other factual SAVC allegations
26
     PLAINTIFF’S OPPOSITION TO                                           GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                    MANSUKHANI, LLP
     TO DISMISS,                                                         701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 5                                       Seattle, WA 98104
                                                                         Telephone: (206) 695-5100
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 1   as the Court must, Twombly, 550 U.S. at 556, Plaintiff has sufficiently plead its ownership of a
 2   valid and registered copyright for Grundriss.
 3
                   b.      Fundamentals of Catholic Dogma (“Fundamentals”)
 4
            Plaintiff has sufficiently alleged its ownership of a valid copyright in Fundamentals
 5
     (SAVC ¶¶103-115) for which the United States Copyright Office issued a registration on or
 6

 7   about February 21, 2014. (SAVC, Ex. 4); Montgomery, 168 F.3d at 1292; 17 U.S.C. § 410(c).

 8   Specifically, Plaintiff alleges that it is the exclusive owner of all copyright rights to

 9   Fundamentals (SAVC ¶25), and that it is entitled to all of the exclusive rights and remedies
10
     accorded by U.S. copyright law to a copyright owner. (SAVC ¶¶36-40). Plaintiff further alleges
11
     that in 2010, it signed an agreement with the copyright owner of Fundamentals, and all of the
12
     copyright rights in and to Fundamentals (SAVC ¶40), and that Fundamentals is subject to the
13
     full protection of United States copyright laws. (SAVC ¶¶36-42). Assuming the truth of those
14

15   and other factual SAVC allegations as the Court must, Twombly, 550 U.S. at 556, Plaintiff has

16   sufficiently plead its ownership of a valid and registered copyright for Fundamentals.
17          Defendant’s misguided, if not deliberately misleading arguments that the SAVC claim
18
     fails for lack of valid copyright in Fundamentals is improper in a Rule 12(b)(6) motion, and its
19
     reliance on disproving Plaintiff’s allegation that Dr. Lynch was “commissioned” by Mercier
20
     Press to create the translation is inapposite to the actual issues before the Court, and is
21

22   inappropriate in a Rule 12(b)(6) motion.

23          First, the U.S. Supreme Court ruled in Twombly, that under a Rule 12(b)(6) standard of

24   review, a court must assume the truth of the factual allegations in a complaint. In this case, the
25   SAVC and its Exhibit 3 allege that the ownership of a valid copyright in Fundamentals was
26
     PLAINTIFF’S OPPOSITION TO                                           GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                    MANSUKHANI, LLP
     TO DISMISS,                                                         701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 6                                       Seattle, WA 98104
                                                                         Telephone: (206) 695-5100
                                                                         Facsimile: (206) 689-2822
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 1   conveyed to Plaintiff. (SAVC ¶¶103-115).
 2           Second, Defendant is misapplying the standard of review in this case (i.e., Rule
 3
     12(b)(6)), and is arguing as a matter of law (i.e., Rule 56), Plaintiff has failed to prove its
 4
     ownership of a valid copyright in Fundamentals. Defendant only alleges “by statute” (Motion,
 5
     Pgs. 6, 12), and does not even identify nor cite to any particular statute.1 Rather, under a Rule
 6

 7   12A(b)(6) analysis, the SAVC and the SAVC Exhibits Nos. 3 and 4 show Plaintiff’s plausible

 8   ownership of Grundriss and Fundamentals. Whether the SAVC and the SAVC Exhibits Nos. 3

 9   and 4 show Plaintiff’s ownership of Grundriss and Fundamentals as a matter of law is for
10
     another dispositive motion that is not now before this Honorable Court.
11
             Assuming the truth of those and other factual SAVC allegations as the Court must,
12
     Twombly, 550 U.S. at 556, Plaintiff has sufficiently plead its ownership of a valid and registered
13
     copyright for Fundamentals.
14

15          2.    Plaintiff Has Properly Alleged Copying of Constituent Elements of the Work
     that are Original.
16
                     a.       Grundriss
17
             First, Plaintiff has sufficiently alleged that Defendant copied the constituent elements of
18
     Grundriss that are original. (SAVC ¶¶90-102). Specifically, Plaintiff alleges that Defendant,
19
     “without Plaintiff’s authorization, willfully, intentionally and purposefully reproduced and
20

21   distributed Grundriss English Edition, and/or a substantially similar reproduction thereof, in the

22   U.S. in electronic/digital format through Logos and/or Verbum software platforms, and other
23

24   1
       In its Motion’s Introduction and Statement of Facts sections, Defendant also attempts to focus the Court on
25   whether Fundamentals was a restored work. (Mot. at pgs. 2, 4), Plaintiff alleges that Fundamentals is a work that
     was restored under applicable law, the analysis of which shall be proven by Plaintiff in an upcoming dispositive
     pleading.
26
     PLAINTIFF’S OPPOSITION TO                                                     GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                              MANSUKHANI, LLP
     TO DISMISS,                                                                   701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 7                                                 Seattle, WA 98104
                                                                                   Telephone: (206) 695-5100
                                                                                   Facsimile: (206) 689-2822
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 1   means that are currently unknown to Plaintiff, in violation of Section 501 of the Copyright Act.”
 2   (SAVC ¶96).
 3
            Defendant’s misguided, if not deliberately misleading arguments that the SAVC claim
 4
     fails because Defendant copied the constituent elements of Grundriss that are original is
 5
     improper in a Rule 12(b)(6) motion.
 6

 7          First, Defendant argues that Plaintiff has ownership of a limited copyright in Grundriss,

 8   and that Plaintiff has failed to allege that Defendant has infringed that limited copyright. (See

 9   Motion Pg. 6). What Defendant interprets as a limited copyright is in fact the exact opposite.
10
     The license between the Seminary and Nova et vetera does indeed state: “In light of the
11
     controversy surrounding the English edition in the 1960s, the publisher nova & vetera e.k. to
12
     ensure that the old version of the text in the former form is by no means reused.” This is a
13
     specific exclusive right of a copyright owner, i.e., the right to reproduce and copy an original
14

15   work, and conversely, the right to police and prevent others from reproducing and copying an

16   original work. See 17 U.S.C. § 106. As alleged in the SAVC (SAVC ¶¶91-102; SAVC Ex. 2),
17   this same right has been passed on by Nova et vetera to Plaintiff, and it is now the duty of
18
     Plaintiff “to ensure that the old version of the text in the former form is by no means
19
     reused.”
20
            Next, in its Motion, Defendant seems to be very misguided in interpreting a contract
21

22   written in German and interpreted under German law. Defendant even states that the original

23   contract between the Seminary of Eichstatt and Nova et vetera “is not relevant to the issues

24   here” yet, utterly relies on a translation of the Supplemental Contract (SAVC Ex. 2, Pg.12)
25   provided by Plaintiff and not done by a German law expert of German to English translations.
26
     PLAINTIFF’S OPPOSITION TO                                          GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                   MANSUKHANI, LLP
     TO DISMISS,                                                        701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 8                                      Seattle, WA 98104
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 1   The translation relied upon by Defendant was conducted by Google back in 2017 when Plaintiff
 2   caused the creation of the translation. Today, this same translation conducted by Google and
 3
     Bing differs to the one from 2017; however, the meaning stays the same as shown in the
 4
     following table comparing it to the 2023 Google and 2023 Bing translations.
 5

 6             Google 2017                 Google June 10, 2023                Bing June 10, 2023
 7
         In addition to the publishing    In addition to the publishing      In addition to the publishing
 8       contract dated 6/11. July        contract of 6./11. July 2004       contract of 6/11 July 2004,
         2004 the publisher nova          the publishing house nova &        the publishing house nova &
 9       vetera e.K., Bonn, hereby        vetera e.K., Bonn, is hereby       vetera e.K., Bonn, is hereby
         also the right for an English-   also granted the right for an      granted the right to publish
10       language edition of the          English-language edition of        an English-language edition
         Grundrisses der Dogmatik of      the outline of the dogmatics       of the Grundriss der
11       Prof. Dr. Ludwig Ott.            by Prof. Dr. Transferred to        Dogmatik by Prof. Dr.
                                          Ludwig Ott.                        Ludwig Ott.
12
         The bishop’s seminary of St.     The Episcopal Seminary of          The Episcopal Seminary of
13       Willibald     in     Eichstatt   St. Willibald in Eichstätt         St. Willibald in Eichstätt
         receives a copy of every         receives a specimen copy of        receives a specimen copy of
14       edited version of the English    each modified edition of the       each modified edition of the
         version.                         English version.                   English version.
15
         In light of the controversy      In view of the controversy         In view of the controversy
16       surrounding the English          surrounding the English-           surrounding the English-
         edition in the 1960s, the        language edition in the            language edition in the 60s,
17       publisher nova & vetera e.k.     1960s, the publishing house        the publishing house nova &
         To ensure that the old version   nova & vetera e.K. to ensure       vetera e.K. undertakes to
18       of the text in the former form   that the old version of the text   ensure that the old version of
         is by no means reused.           is no longer used in the form      the text in its former form is
19                                        at that time for a new edition.    no longer used for a new
                                                                             edition.
20
            State another way, and as Plaintiff has alleged in the SAVC, Plaintiff has the right “to
21

22   ensure that the old version of the text [of Grundriss] is no longer used,” and that Defendant has

23   infringed this right by copying and producing copies of the old version of Grundriss in its
24   controversial 1960s edition via Grundriss’ English translation, i.e., Fundamentals. (SAVC
25
     ¶¶91-102; SAVC Ex. 2; Kejik Decl. ¶28),
26
     PLAINTIFF’S OPPOSITION TO                                               GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                        MANSUKHANI, LLP
     TO DISMISS,                                                             701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 9                                           Seattle, WA 98104
                                                                             Telephone: (206) 695-5100
                                                                             Facsimile: (206) 689-2822
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 1          Assuming the truth of those and other factual SAVC allegations as the Court must,
 2   Twombly, 550 U.S. at 556, Plaintiff has sufficiently plead the Defendant’s copies of Grundriss
 3
     copied the constituent elements of Grundriss that are original.
 4
            b.    Fundamentals
 5
            First Plaintiff has sufficiently alleged that Defendant copied the constituent elements of
 6

 7   Fundamentals that are original. (SAVC ¶¶103-115) Specifically, Plaintiff has alleged that

 8   Defendant, “without Plaintiff’s authorization, willfully, intentionally and purposefully

 9   reproduced and distributed Fundamentals, and/or a substantially similar reproduction thereof,
10
     in the U.S. in electronic/digital format through Defendant’s Logos and/or Verbum software
11
     platforms and other means that are currently unknown to Plaintiff, in violation of Section 501
12
     of the Copyright Act.” (SAVC ¶109).
13
            Defendant attempts to focus the Court on only whether Fundamentals was a restored
14

15   work, as depicted in Defendant’s Motion (Motion, Pgs. 2, 4), and ignores the indisputable fact

16   that Defendant’s infringing copies of Fundamentals are actually identical copies of
17   Fundamentals, which literary work Plaintiff registered with the U.S. Copyright Office, and
18
     received U.S. Copyright Registration No. TX-6-484-647, which was issued on February 21,
19
     2014. (SAVC ¶41; SAVC, Ex. 3).
20
            Second, Defendant fatally argues that Plaintiff alleges that Defendant infringed
21

22   Plaintiff’s new 2018 translation of Fundamentals, when in fact, Plaintiff has always alleged that

23   Defendant infringed the English translation of Grundriss, a.k.a. Fundamentals, U.S. Copyright

24   Registration No. TX-6-484-647. (SAVC ¶36) (“Fundamentals” defined as the English-language
25   translation of Grundriss entitled Fundamentals of Catholic Dogma – not Plaintiff’s new 2018
26
     PLAINTIFF’S OPPOSITION TO                                          GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                   MANSUKHANI, LLP
     TO DISMISS,                                                        701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 10                                     Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
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 1   translation of Fundamentals). Stated another way, Defendant copied and reproduced copies of
 2   the version of Fundamentals with “several historical, theological, doctrinal and substantial
 3
     grammatical errors.” (SAVC ¶43).
 4
              Assuming the truth of those and other factual SAVC allegations as the Court must,
 5
     Twombly, 550 U.S. at 556, Plaintiff has sufficiently plead the Defendant copies of Fundamentals
 6

 7   copied the constituent elements of Fundamentals that are original.

 8            B.    Plaintiff’s SAVC States Claims for Violations of the DMCA.

 9           Section 1202(a) of the DMCA provides that:
10           No person shall knowingly and with the intent to induce, enable, facilitate, or conceal
11           infringement—

12                  (1) provide copyright management information that is false, or

13                  (2) distribute or import for distribution copyright management information that is
                    false.
14

15            Plaintiff’s SAVC adequately pleads these elements and therefore states a cause of action

16   for violations of the DMCA.

17            1.    Plaintiff has Properly Alleged DMCA Violations for Grundriss and
18   Fundamentals.

19            First, Plaintiff has sufficiently alleged that it has ownership and/or exclusive rights to
20   Grundriss and Fundamentals, and that Defendant knowingly and with the intent to facilitate and
21
     conceal its willful acts of copyright infringement and to conceal the true copyright holders of
22
     Fundamentals by providing CMI that is false and distributing CMI that is false. (SAVC ¶¶116-
23
     149).
24

25            Defendant’s misguided, if not deliberately misleading arguments that the SAVC claim

26   fails to allege DMCA violations for Grundriss and Fundamentals is improper in a Rule 12(b)(6)
     PLAINTIFF’S OPPOSITION TO                                            GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                     MANSUKHANI, LLP
     TO DISMISS,                                                          701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 11                                       Seattle, WA 98104
                                                                          Telephone: (206) 695-5100
                                                                          Facsimile: (206) 689-2822
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 1   motion.
 2          Defendant claims that Plaintiff’s allegations are “implausible because they are directly
 3
     contradicted by Baronius’s own factual allegations.” Defendant selectively chose allegations
 4
     from the SAVC in order to support its narrative, blatantly omitting the parts that do not suit
 5
     Defendant and goes as far as utterly misconstruction and false misinterpretation of the
 6

 7   allegations stated in the SAVC. i.e., those bulleted allegations on page 21 of Defendant’s

 8   Motion. However, such copy and delete tactics by Defendant cannot overcome the fact that

 9   Plaintiff has properly alleged DMCA Violations for Fundamentals. (SAVC ¶¶134-149; Kejik
10
     Decl. ¶¶29-33).
11
               Simply said, the CMI used by Defendant is false as the copyright does not belong to B.
12
     Herder Book Company, a company that was dissolved in 1970s. (SAVC ¶¶73; SAVC Ex. Nos.
13
     3 and 4; Kejik Decl. ¶¶34-35). In its email of April 15, 2020, Defendant claimed that its “team
14

15   members made a good faith effort to determine the copyright status and ensure the title was in

16   the public domain, using what they thought was a complete and correct process.” (SAVC ¶70;
17   SAVC Ex. 7). Despite this fact “Defendant did not provide Fundamentals with CMI stating
18
     ‘Copyright: Public Domain’” (SAVC ¶72) as it does with other of its public domain titles.
19
     (SAVC Ex. 8).
20
               As alleged in the SAVC, Defendant just did not out of the blue decided to “voluntarily
21

22   cease its publication” (Motion, Pg. 21), but rather Defendant “learned more recently--and

23   definitively--that the book has a new copyright holder.” (SAVC ¶55; Kejik Decl. ¶17). Also,

24   Defendant did not “publicize its own investigation into the copyright” (Motion, Pg. 22); but
25   rather, Defendant only mentioned Plaintiff as the “newer U.S. publisher” and never publicly
26
     PLAINTIFF’S OPPOSITION TO                                          GORDON REES SCULLY
     DEFENDANT’S RULE 12(b)(6) MOTION                                   MANSUKHANI, LLP
     TO DISMISS,                                                        701 5th Avenue, Suite 2100
     CASE NO. 2:22-CV-01635-TL - 12                                     Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
                                                                        Facsimile: (206) 689-2822
           Case 2:22-cv-01635-TL         Document 59        Filed 06/12/23      Page 13 of 15




 1   stated who the “new copyrightholder” was despite its actual and constructive knowledge of such
 2   copyrightholder. (SAVC ¶¶48, 54, 55, 95, 108, 126, 146; Kejik Decl. ¶16). Therefore, in no way
 3
     did Defendant “publicly correct[ed] the copyright information”. (Motion, Pg. 22)
 4
            More importantly, by providing the false CMI, Defendant enabled, facilitated and
 5
     concealed its infringement as it hid the CMI information of the true copyright owners of the
 6

 7   Grundriss and Fundamentals. (SAVC ¶¶48, 54, 55, 95, 97, 108, 110, 123, 124, 126, 140, 141,

 8   146; Kejik Decl. ¶¶14, 35).

 9          Defendant is misguided when it states in its Motion that “Baronius’s allegations indicate
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     that Faithlife was acting innocently and transparently” given the facts above. Plaintiff need no
11
     further comments as such arguments are not appropriate in a Rule 12(b)(6) motion and are not
12
     even a recognized affirmative defense. See 3 Nimmer on Copyright § 13.08 (1981); see also
13
     Williams Electronics, Inc. v. Artic International, Inc., 685 F.2d 870, 878 (3d Cir.1982),
14

15   Furthermore, Plaintiff has not alleged this in its SAVC, and there is no such thing as an innocent

16   act of copyright infringement, especially when the Defendant first executes a settlement
17   agreement and then repeats the same acts of copyright infringement. (See id.; see also SAVC;
18
     see also Kejik Decl. ¶¶7-8.
19
            Assuming the truth of those and other factual SAVC allegations as the Court must,
20
     Twombly, 550 U.S. at 556, Plaintiff has sufficiently plead DMCA violations for Fundamentals
21

22   against the Defendant.

23                                       IV.    CONCLUSION

24          For all the above reasons, Plaintiff respectfully urges the Court to deny Defendant’s
25   Motion to Dismiss Plaintiff’s Second Amended Verified Complaint.
26
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     DEFENDANT’S RULE 12(b)(6) MOTION                                    MANSUKHANI, LLP
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          Case 2:22-cv-01635-TL   Document 59   Filed 06/12/23      Page 14 of 15




 1   Dated: June 12, 2023                  GORDON REES SCULLY MANSUKHANI,
                                           LLP
 2

 3
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     PLAINTIFF’S OPPOSITION TO                              GORDON REES SCULLY
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                  Case 2:22-cv-01635-TL          Document 59        Filed 06/12/23      Page 15 of 15




      1                                    CERTIFICATE OF SERVICE

      2
                  I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
      3
            the Court using the CM/ECF system which will send notification of such filing to the
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            following:
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                    PLAINTIFF’S OPPOSITION TO                                    GORDON REES SCULLY
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1213044/77725899v.1 TO DISMISS,                                                  701 5th Avenue, Suite 2100
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